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                                                       IN THE UNITED STATES DISTRICT COURT
                                                            FOR THE DISTRICT OF ALASKA

                                     MIKE TOYUKAK, et al.,                        )
                                                                                  )
                                                   Plaintiffs,                    )   Case No.: 3:13-cv-00137-SLG
                                                                                  )
OFFICE OF THE ATTORNEY GENERAL




                                     v.                                           )
 1031 W. FOURTH AVENUE, SUITE 200




                                                                                  )
    ANCHORAGE, ALASKA 99501
       DEPARTMENT OF LAW

       ANCHORAGE BRANCH




                                     KEVIN MEYER, et al.,                         )   NOTICE AND UNOPPOSED
         PHONE (907) 269-5100




                                                                                  )   MOTION REGARDING
                                                   Defendants.                    )   ELECTION REPORTS
                                                                                  )

                                           Pursuant to the Stipulated Judgment and Order in this case, the defendants must

                                    file reports following the Primary, REAA, and General Elections. Dkt. 282 at 30. In

                                    prior years, the defendants have produced a single report covering all three elections.

                                    The defendants now file such a report, covering the 2020 Primary, REAA, and General

                                    Elections. While this report was completed more than 45 days after the Primary Election

                                    and more than 60 days after the REAA and General Elections, counsel for plaintiffs do

                                    not oppose the defendants’ filing of a consolidated report at this time. The defendants

                                    therefore respectfully request the Court accept the election report as filed.




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                                           DATED: January 29, 2021.

                                                                              TREG R. TAYLOR
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                                                                              By:    /s/ Janell M. Hafner
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                                    Certificate of Service
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                                    I certify that on January 29, 2021 the foregoing was electronically filed and served by
                                    using the District of Alaska CM/ECF system.


                                    /s/ Janell M. Hafner
                                    Janell M. Hafner
                                    Chief Assistant Attorney General




                                    TOYUKAK et al. v. TREADWELL et al.                   Case No.: 3:13-cv-00137-SLG
                                    Notice and Unopposed Motion
                                    Case 3:13-cv-00137-SLG      Regarding
                                                             Document  314Election Reports Page 2 of 2
                                                                            Filed 01/29/21                 Page 2 of 2
